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                                                           Filed in Open Court



                 IN THE UNITED STATES DISTRICT COURT
                                                           : yle~ ~  4- 27-23

                                                                          Deputy
                      FOR THE DISTRICT OF KANSAS
                           (TOPEKA DOCKET)

UNITED STATES OF AMERICA,

                     Plaintiff,

     v.                                      Case No. 22-40021-TC


GREGORY ALLEN GULLICK,
    a.k.a. "Carlo D. Johnson," and
           "XX Sky,"

                     Defendant.


                              PLEA AGREEMENT

      The United States of America, by and through Gregory G. Hough, Assistant

United States Attorney, and the defendant, GREGORY ALLEN GULLICK, a.lea.

"Carlo D. Johnson," and "XX Sky," personally and by and through his counsel, Kirk

Redmond, Assistant Federal Public Defender, hereby enter into the following Plea

Agreement pursuant to Rule 11 of the Federal Rules of Criminal Procedure:

      1.      Defendant's Guilty Plea. The defendant agrees to plead guilty to

Count 1 of the Superseding Information charging a violation of 21 U.S.C. §

841(a)(l); with reference to 21 U.S.C. § 841(b)(l)(C), that is, possession with the

intent to distribute methamphetamine, a Schedule II controlled substance. By

entering into this Plea Agreement, the defendant admits to knowingly committing


                                                                           Ver. 22-01
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this offense, and to being guilty of this offense. The defendant understands that the

maximum sentence which may be imposed as to Count 1 of the Superseding

Information to which he has agreed to plead guilty is not more than (20) years of

imprisonment, a $1 million fine, at least three (3) years of supervised release, and a

$100. 00 mandatory special assessment.

      2.     Factual Basis for the Guilty Plea.        The parties agree the facts

constituting the offense to which the defendant is pleading guilty are as follows:

            The DEA Topeka Post of Duty (TPOD) with assistance from the
      Kansas Highway Patrol (KHP), Shawnee County Sheriffs Office
      (SCSO), and Rossville Police Department (RPD) were investigating
      GREGORY ALLEN GULLICK, a.lea. "Carlo D. Johnson," and "XX
      Sky," as a methamphetamine distributor operating in Topeka, Kansas.

             On February 24, 2021, law enforcement utilized the confidential
      source (CS) to purchase three (3) ounces of crystal methamphetamine
      from GULLICK. The CS made multiple recorded cellular telephone
      calls to GULLICK who utilized cellular telephone number (785) 845-
      8538. However, no deal was able to occur, with GULLICK telling the
      CS, that he (GULLICK) would be able to sell the CS, the three (3)
      ounces of methamphetamine on February 25, 2021. The operation was
      terminated at 5: 15 P .M.

             On February 25, 2021, law enforcement met with the CS, and
      had the CS make recorded cellular telephone calls to GULLICK, who
      utilized cellular telephone number (785) 845-8538. GULLICK agreed
      to meet with and sell the CS approximately three (3) ounces of
      methamphetamine. However, GULLICK would need a ride from the
      CS to obtain the methamphetamine. Law enforcement provided the CS
      with $1,500.00, and electronic surveillance equipment. The CS was
      searched for illegal contraband, with nothing located. Later that day,
      DEA agents observed GULLICK meet with the CS at the CS's vehicle.
      Based on electronic surveillance and subsequent statements made by
      the CS, the CS was able to successfully purchase two (2) ounces of

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      suspected crystal methamphetamine from GULLICK for $1,120.00. A
      certified forensic chemist for DEA subsequently determined that the
      methamphetamine delivered to the CS by the defendant, GULLICK,
      was 55.3 g ± 3.4 grams of 100% ± 6% purity Methamphetamine
      Hydrochloride.

      3.      Application of the Sentencing Guidelines. The parties request that

the Court apply the United States Sentencing Guidelines (Guidelines) to calculate

the applicable sentence and impose a sentence consistent with the Guidelines. The

defendant agrees to waive all constitutional challenges to the validity of the

Guidelines. The defendant understands and acknowledges that the Court will find,

by a preponderance of the evidence, the facts used to determine the offense level,

and in making its findings, that the Court may consider any reliable evidence,

including hearsay. Nothing in this section prevents the parties from filing objections

to the Presentence Report prepared by the United States Probation Office, or from

arguing the application of specific sections of the Guidelines. The parties agree that

the Court will determine the final Guideline range. The parties understand this Plea

Agreement binds the parties only and does not bind the Court.

      4.      Relevant Conduct. The parties have agreed to the application of the

Guidelines.    Therefore, the defendant agrees that the conduct charged in any

dismissed counts, as well as all other uncharged related criminal activity, will be

considered as relevant conduct for purposes of calculating the offense level for the




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count(s) of conviction, in accordance with United States Sentencing Guidelines

(U.S.S.G.) § lBl.3.

      5.     Government's Agreements. In return for the defendant's plea of

guilty as set forth herein, the United States Attorney for the District of Kansas agrees:

      (a)    to dismiss the Indictment at the time of sentencing;

      (b)    to not file any additional charges against the defendant arising out of
             the facts forming the basis for the present Superseding Information; and

      (c)    to recommend the defendant receive a two (2) level reduction in the
             applicable offense level under U.S.S.G. § 3El.1 for acceptance of
             responsibility. In addition, if his offense level is 16 or greater, prior to
             any reduction for acceptance of responsibility, and the Court finds he
             qualifies for a two-level reduction, the United States will move at the
             time of sentencing for an additional one-level reduction for acceptance
             of responsibility because he timely notified the government of his
             intention to enter a plea of guilty.

      The United States' obligations under this Paragraph are contingent upon the

defendant's continuing to manifest an acceptance of responsibility. If the defendant

denies or gives conflicting statements as to his involvement, falsely denies or

frivolously contests relevant conduct the Court determines to be true, willfully

obstructs or impedes the administration of justice, as defined by U.S.S.G. § 3Cl. l

(or willfully attempts to do so), or has engaged in additional criminal conduct, the

United States reserves the right to petition the Court for a hearing to determine if he

has breached this Plea Agreement.




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      If the Court finds by a preponderance of the evidence that the defendant ( 1)

has breached or violated this Plea Agreement; (2) has willfully obstructed or

impeded the administration of justice, as defined by U.S.S.G. § 3Cl. l (or willfully

attempted to do so); (3) has engaged in additional criminal conduct; or (4) has

otherwise failed to adhere to this Plea Agreement's terms, the United States shall not

be bound by this Paragraph, and may pursue any additional charges arising from the

criminal activity under investigation, as well as any charges for any perjury, false

statement, or obstruction of justice that may have occurred.

      If the Court finds the defendant has violated this Plea Agreement, he

understands and agrees that all statements he made, any testimony he gave before a

grand jury or any tribunal, or any leads from such statements or testimony, shall be

admissible against him in any and all criminal proceedings. The defendant waives

any rights which might be asserted under the United States Constitution, any statute,

Federal Rule of Criminal Procedure l l(f), Federal Rule of Evidence 410, or any

other federal rule that pertains to the admissibility of any statements he made

subsequent to this Plea Agreement.

      6.     Sentence to be Determined by the Court. The defendant understands

that the sentence to be imposed will be determined solely by the United States

District Judge.   The United States cannot and has not made any promise or

representation as to what sentence he will receive.


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      7.     Withdrawal of Plea Not Permitted. The defendant understands that

if the Court accepts this Plea Agreement but imposes a sentence with which he does

not agree, he will not be permitted to withdraw his guilty plea.

      8.     Payment of Special Assessment. The defendant understands that a

mandatory special assessment of $100.00 per count of conviction will be entered

against him at the time of sentencing. The defendant agrees to deliver to the Clerk

of the United States District Court payment in the appropriate amount no later than

the day of sentencing. The defendant has the burden of establishing an inability to

pay the required special assessment. The parties acknowledge that if the Court finds

the defendant is without resources to pay the special assessment at the time of

sentencing, the Court may allow payment during his period of incarceration.

      9.     Waiver of Appeal and Collateral Attack. The defendant knowingly

and voluntarily waives any right to appeal or collaterally attack any matter in

connection with this prosecution, his conviction, or the components of the sentence

to be imposed herein, including the length and conditions of supervised release, as

well as any sentence imposed upon a revocation of supervised release.              The

defendant is aware that 18 U.S.C. § 3742 affords him the right to appeal the

conviction and sentence imposed. The defendant also waives any right to challenge

his sentence, or the manner in which it was determined, or otherwise attempt to

modify or change his sentence, in any collateral attack, including, but not limited to,


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a motion brought under 28 U.S.C. § 2255 (except as limited by United States v.

Cockerham, 237 F.3d 1179, 1187 (10th Cir. 2001)), or a motion brought under

Federal Rule of Civil Procedure 60(b ). In other words, the defendant waives the

right to appeal the sentence imposed in this case, except to the extent, if any, the

Court depaiis or varies upwards from the sentencing Guideline range that the Court

determines to be applicable. However, if the United States exercises its right to

appeal the sentence imposed, as authorized by 18 U.S.C. § 3742(b), the defendant is

released from this waiver and may appeal the sentence received, as authorized by 18

U.S.C. § 3742(a). Notwithstanding the forgoing waivers, the parties understand that

the defendant in no way waives any subsequent claims with regards to ineffective

assistance of counsel or prosecutorial misconduct.

       10.   F.0.1.A. and Privacy Act Waiver. The defendant waives all rights,

whether asserted directly or by a representative, to request or receive from any

department or agency of the United States any records pe1iaining to the investigation

or prosecution of this case, including, without limitation, any records that may be

sought under the Freedom oflnformation Act, 5 U.S.C. § 552. The defendant further

waives any rights conferred under the Privacy Act of 1974, 5 U.S.C. § 552a, to

prevent or object to the disclosure of records or materials pe1iaining to this case.

       11.   Full Disclosure by United States. The defendant understands the

United States will provide to the Court and the United States Probation Office all


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information it deems relevant to determining the appropriate sentence in this case.

This may include information concerning his background, character, and conduct,

including the entirety of his criminal activities. The defendant understands these

disclosures are not limited to the count to which he is pleading guilty. The United

States may respond to comments he or his attorney makes, or to positions he or his

attorney takes, and to correct any misstatements or inaccuracies. The United States

further reserves its right to make any recommendations it deems appropriate

regarding the disposition of this case, subject only to any limitations set forth in this

Plea Agreement. The defendant also has the right to provide information concerning

the offense and to make recommendations to the Court and the United States

Probation Office.

       12.   Parties to the Agreement.         The defendant understands this Plea

Agreement binds only him and the United States Attorney for the District of Kansas,

and that it does not bind any other federal, state, or local prosecution authority.

      13.    Voluntariness of Guilty Plea. The defendant has had sufficient time

to discuss this case, the evidence, and this Plea Agreement with his attorney and he

is fully satisfied with the advice and representation his attorney provided. Further,

the defendant acknowledges that he has read the Plea Agreement, understands it, and

agrees it is true and accurate and not the result of any threats, duress or coercion.

The defendant further understands that this Plea Agreement supersedes any and all


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other agreements or negotiations between the parties, and unless subsequently

supplemented in writing with the joint approval of the parties, this Plea Agreement

embodies each and every term of the agreement between the paiiies. The defendant

acknowledges that he is entering into this Plea Agreement and is pleading guilty

because he is guilty. He further acknowledges that he is entering his guilty plea

freely, voluntarily, and knowingly.
                     ,,
                                            Digitally signed by GREGORY
                                            HOUGH
                                            Date: 2~~:04.26 14:31 :43 -05'00'
Gregory G. Hough
Assistant United States Attorney


                                                   Date:- -04/26/2023
                                                            -------
Stephen Hunting
Assistant United States Attorney
Supervisor


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                                                   Date: - - - - -L1- -         O,) 3
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     a.lea. "Carlo D. Johnson," "XX Sky,"
Defendant


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KirkR~ mond
Assistant Federal Public Defender
kirk redmond@fd.org
Counsel for Defendant


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